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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Dominion Group, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  635 Highlandia Avenue, Suite A
                                  Baton Rouge, LA 70810
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  East Baton Rouge                                                Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.dominiongp.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Dominion Group, LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4832

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
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Debtor   Dominion Group, LLC                                                                       Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Dominion Group, LLC                                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 3, 2019
                                                  MM / DD / YYYY


                             X   /s/ Joe William Cline, III                                               Joe William Cline, III
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager of Dominion Group LLC




18. Signature of attorney    X   /s/ Robin B. Cheatham                                                     Date September 3, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robin B. Cheatham 4004
                                 Printed name

                                 Adams and Reese LLP
                                 Firm name

                                 701 Poydras Street,Suite 4500
                                 New Orleans, LA 70139
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     504-581-3234                  Email address      robin.cheatham@arlaw.com

                                 4004 LA
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Dominion Group, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF LOUISIANA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 3, 2019                       X /s/ Joe William Cline, III
                                                                       Signature of individual signing on behalf of debtor

                                                                       Joe William Cline, III
                                                                       Printed name

                                                                       Manager of Dominion Group LLC
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Dominion Group, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                          Check if this is an
                                                LOUISIANA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 American                                                                                                                                                                 $89,663.24
 Commercial Barge
 Line
 Attention: Sam
 Williams
 P. O. Box 610
 Jeffersonville, IN
 47130
 Bottom Line                                                                                                                                                              $35,689.79
 Equipment LLC
 P. O. Box 81217
 Lafayette, LA 70598
 Breazeale, Sachse &                                                                    Disputed                                                                        $119,124.68
 Wilson, LLC
 Twenty-Third Floor
 One American Place
 P. O. Box 3197
 Baton Rouge, LA
 70821
 CAT Commercial                                                                                                                                                           $16,778.69
 Account
 P. O. Box 978595
 Dallas, TX 75397
 CEMUS                                                                                                                                                                  $177,500.00
 1210 Airline Hwy
 Baton Rouge, LA
 70805
 CGB-Waterfront                                                                                                                                                           $38,640.00
 Marine Services
 23476 Network
 Place
 Chicago, IL 60673
 Construction                                                                                                                                                             $15,564.59
 Aggregate Supply
 Luhr Bros, Inc.
 P. O. Box 50
 Columbia, IL 62236


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Dominion Group, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Cooper                                                                                                                                                                   $91,568.00
 Consolidated, LLC
 28586 Network
 Place
 Chicago, IL 60673
 Donahue Patrick &                                                                                                                                                      $166,653.66
 Scott, PLLC
 450 Laurel Street,
 Suite 1600
 Baton Rouge, LA
 70801
 FMT                                                                                                                                                                      $90,684.92
 P. O. Box 203351
 Dallas, TX 75320
 Gavillon Agriculture,                                                                                                                                                    $37,500.00
 LLC
 1331 Capitol Avenue
 Omaha, NE 68102
 Harry Robert                                                                                                                                                             $37,208.76
 Insurance
 725 E. Cornerview
 St.
 Gonzales, LA 70737
 John Credit Inc.                                                                                                                                                         $36,797.47
 John Deere
 Financial
 P. O. Box 650215
 Dallas, TX 75265
 Lord & Winter                                                                                                                                                            $17,496.95
 David Winter
 1720 Nottingham
 Place
 Nashville, TN 37221
 Louisiana                                                                                                                                                                $32,000.00
 Department of
 Revenue
 617 North Third
 Street
 Baton Rouge, LA
 70802
 Louisiana Marine                                                                       Disputed                                                                        $347,278.60
 Operators, LLC                                                                         Subject to
 2302 E. Main St.                                                                       Setoff
 Broussard, LA
 70518
 Louisiana                                                                                                                                                                $14,323.72
 Workforce
 Commission
 1001 N 23rd Street
 Baton Rouge, LA
 70802



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Dominion Group, LLC                                                                                Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Postlethawaite &                                                                                                                                                         $42,675.00
 Netterville, APAC
 8550 United Plaza
 Baton Rouge, LA
 70809
 Siboney                                                                                                                                                                $303,804.32
 1450 Centrepark
 Blvd, Suite 100
 West Palm Beach,
 FL 33401
 Tricon Steamship                                                                                                                                                         $40,040.00
 Agency, Inc.
 226 Eastbank Dr.
 Suite A
 Gonzales, LA
 70737-4840




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                     Eastern District of Louisiana
 In re      Dominion Group, LLC                                                                            Case No.
                                                                                   Debtor(s)               Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Manager of Dominion Group LLC of the corporation named as the debtor in this case, hereby verify that the attached list of

creditors is true and correct to the best of my knowledge.




 Date:       September 3, 2019                                          /s/ Joe William Cline, III
                                                                        Joe William Cline, III/Manager of Dominion Group LLC
                                                                        Signer/Title




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A
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M
a
x




                         American Commercial Barge Line
                         Attention: Sam Williams
                         P. O. Box 610
                         Jeffersonville, IN 47130


                         American Rigging
                         555 Choctaw Dr
                         Baton Rouge, LA 70805


                         Ardaman & Associates
                         316 Highlandia Dr.
                         Baton Rouge, LA 70810


                         Associated Builders and Constractors
                         19251 Highland Road
                         Baton Rouge, LA 70809


                         Baton Rouge Business Report
                         9029 Jefferson Highway Suite 300
                         Baton Rouge, LA 70809


                         Blue Cross Blue Shield
                         5525 Reitz Avenue
                         Baton Rouge, LA 70809


                         Bottom Line Equipment LLC
                         P. O. Box 81217
                         Lafayette, LA 70598


                         Bowser Morner
                         P. O. Box 51
                         Dayton, OH 45401


                         Breazeale, Sachse & Wilson, LLC
                         Twenty-Third Floor
                         One American Place
                         P. O. Box 3197
                         Baton Rouge, LA 70821


                         Businelle Towing Corporation
                         28805 Intracoastal Road
                         Plaquemine, LA 70764
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                         BXS Insurance
                         P. O. Box 3809
                         Baton Rouge, LA 70821


                         Cape Quarry, LLC
                         635 Highlandia Ave, Suite A
                         Baton Rouge, LA 70810


                         Cargo Carriers
                         P. O. Box 5608
                         Minneapolis, MN 55440


                         CAT Commercial Account
                         P. O. Box 978595
                         Dallas, TX 75397


                         Celtic Capital Corporation
                         23622 Calabasas Rd., Suite 323
                         Calabasas, CA 91302


                         CEMUS
                         1210 Airline Hwy
                         Baton Rouge, LA 70805


                         CGB-Waterfront Marine Services
                         23476 Network Place
                         Chicago, IL 60673


                         Construction Aggregate Supply
                         Luhr Bros, Inc.
                         P. O. Box 50
                         Columbia, IL 62236


                         Cooper Consolidated, LLC
                         28586 Network Place
                         Chicago, IL 60673


                         Corrents Trucking
                         2600-2798 American Way
                         Port Allen, LA 70767


                         Dennis Stewart
                         P. O. Box 78069
                         Baton Rouge, LA 70837
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                         Donahue Patrick & Scott, PLLC
                         450 Laurel Street, Suite 1600
                         Baton Rouge, LA 70801


                         Downtown Duplicating, LLC
                         1445 Main street
                         Baton Rouge, LA 70802


                         Ed Prejean
                         1222 E. Cornerview St.
                         Gonzales, LA 70737


                         Favor Trucking, LLC
                         through its registered agent
                         Lewis Wallace
                         24644 Cook Rd. OFC
                         Slaughter, LA 70777


                         Fed Ex
                         through its registered agent
                         C T Corporation System
                         3867 Plaza Tower Dr.
                         Baton Rouge, LA 70816


                         First Insurance Funding
                         P. O. Box 7000
                         Carol Stream, IL 60197


                         FMT
                         P. O. Box 203351
                         Dallas, TX 75320


                         Gaubert Oil Co.
                         P. O. Box 310
                         Thibodaux, LA 70301


                         Gavillon Agriculture, LLC
                         1331 Capitol Avenue
                         Omaha, NE 68102


                         Harry Robert Insurance
                         725 E. Cornerview St.
                         Gonzales, LA 70737
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                         Integrity Black Lake
                         P. O. Box 9605
                         Corpus Christi, TX 78649


                         Joe William Cline, III
                         16139 Feliciana Avenue
                         Prairieville, LA 70769


                         John Credit Inc.
                         John Deere Financial
                         P. O. Box 650215
                         Dallas, TX 75265


                         JRC Marine LLC
                         318 Honeysuckle Vine Dr.
                         Richmond, TX 77469


                         LH Concrete Services
                         1004 Parent Street
                         New Roads, LA 70760


                         Lord & Winter
                         David Winter
                         1720 Nottingham Place
                         Nashville, TN 37221


                         Louisiana Department of Revenue
                         617 North Third Street
                         Baton Rouge, LA 70802


                         Louisiana Marine Operators, LLC
                         2302 E. Main St.
                         Broussard, LA 70518


                         Louisiana Workforce Commission
                         1001 N 23rd Street
                         Baton Rouge, LA 70802


                         Mike Yglesias
                         10444 Greenwell Springs
                         Baton Rouge, LA 70814


                         Morel G. Lemoine Distributors, Inc.
                         1932 Hospital Rd
                         New Roads, LA 70760
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                         Pelican View Properties
                         through its registered agent
                         Lori Encalade
                         635 Highlandia Drive
                         Baton Rouge, LA 70810


                         Postlethawaite & Netterville, APAC
                         8550 United Plaza
                         Baton Rouge, LA 70809


                         Siboney
                         1450 Centrepark Blvd, Suite 100
                         West Palm Beach, FL 33401


                         St. Gabriel Hardware
                         2045 Highway 30
                         Saint Gabriel, LA 70776


                         System Scale Corporation
                         P. O. Box 733482
                         Dallas, TX 75373-3482


                         Tricon Steamship Agency, Inc.
                         226 Eastbank Dr. Suite A
                         Gonzales, LA 70737-4840


                         Wesley David Robert
                         7355 Woodstock Drive
                         Baton Rouge, LA 70809
